Case 1:20-cv-08042-PKC Document 46-17 Filed 07/01/20 Page 1 of 4




                                                                   P-APP002893
             Case 1:20-cv-08042-PKC Document 46-17 Filed 07/01/20 Page 2 of 4




    ‘I Felt I Had to Make It’: Ava DuVernay on
    Why the Central Park Five Story Still
    Matters
    The director talks about her new Netflix miniseries
    ‘When They See Us,’ which mines a 30-year-old
    miscarriage of justice that sadly resonates today
    By
    JAMIL SMITH




•
•
•
         •   Facebook
         •   Twitter
         •   Reddit
         •   Email
         •   Show more sharing options




                                                                       P-APP002894
       Case 1:20-cv-08042-PKC Document 46-17 Filed 07/01/20 Page 3 of 4




Ethan Herisse (foreground) as young Yusef Salaam and Aunjanue Ellis as his
mother, Sharon, in 'When They See Us.'
Atsushi Nishijima/Netflix
The morning after Ava DuVernay’s four-part Netflix miniseries about the Central Park
Five, When They See Us, premiered at Harlem’s legendary Apollo Theater, she was in a
daze. “I don’t drink and I don’t do any other kinds of substances,” she told Rolling
Stone, “but I think I have a hangover.” She had the headache, but also the hazy memory
of the community she’d felt the previous night, screening her labor of love in the
neighborhood that raised the five teenagers wrongfully convicted of brutally raping
jogger Trisha Meili on April 19, 1989. It was a whirlwind of fellowship that involved “a
lot of smiles, hugs, and a lot of tears.”
Convicted despite zero DNA evidence or eyewitness accounts connecting them to the
crime, and major inconsistencies in their coerced testimonies about the event, the five
young men — Antron McCray, Raymond Santana, Kevin Richardson, Korey Wise and
Yusef Salaam — were exonerated 13 years later, after a serial rapist confessed and was
matched to DNA samples collected at the scene. They settled a civil lawsuit against the
city of New York in 2014 for $41 million.

      Top Videosby Rolling StoneBeyoncé at BET Awards: ‘Continue to Change
                 andDismantle a Racist and Unequal System’ | RS...
                            READ MORE00:13/00:30
                                    SKIP AD

RELATED




                                                                           P-APP002895
       Case 1:20-cv-08042-PKC Document 46-17 Filed 07/01/20 Page 4 of 4




'Mucho Mucho Amor' Trailer Explores Life, Wisdom of Puerto Rican Astrologer Walter Mercado

'The First Time' With Actor Jeremy Pope

Despite that verdict, the surviving police officers who arrested them, the prosecutors
who tried them and the New York real estate mogul who spent $85,000 to place
newspaper ads calling for their execution still refuse to acknowledge their innocence.
“They admitted they were guilty,” Donald Trump said in a statement to CNN in
October 2016, one month before he was elected President of the United States. “The
police doing the original investigation say they were guilty. The fact that that case was
settled with so much evidence against them is outrageous. And the woman, so badly
injured, will never be the same.”
Santana responded on Twitter, “What more do we have to prove? I’m tired of proving
our innocence!” It is that crushing heartbreak that pervades When They See Us.
This project started with a tweet, right?
Yeah, it started with a tweet from Raymond Santana in 2015, saying that he’d
seen Selma [DuVernay’s film about the 1965 voting rights marches in Alabama] and
asking would my next film be about the Central Park Five. I was familiar with the story
from growing up, but also I’d watched the Sarah Burns documentary [about it]. In his
DMs, I said, “No one has your story?” And he said, “No.”
I was just fascinated by the case, not really thinking I’d ever make a film. But once I met
him and then gradually met all of the other men, I felt like I had to make it.
I was shocked that no one brought up this case while Donald Trump was
running for president. He has a major part in the story, calling for the use
of the death penalty against the boys less than two weeks after their arrest.
How did you decide how he would appear in the miniseries?
That was a big, big question for me. There’s a world in which we could’ve had an actor
playing Trump. There’s a world in which you have a whole side story about Trump and
people like him and what they thought and what they saw and what they felt. There’s a
world in which this could’ve been more of a true-crime, follow-a-detective, whodunit
story.
But when I decided to firmly root the story in the men’s voices and their stories as boys
and their families, all of the rest of that fell away. When you prioritize them, he becomes
a lesser part. The pain of having your child ripped from you, of being the child ripped
out of his youth, of the taunts as you’re walking into the courtroom, of the threats to the
family — all of that.

Trump, in that moment, paled in comparison for the boys. Their mothers thought very
differently. They had more context, more life experience. They knew what a threat it
was, the violence that Trump was basically inciting upon these boys. But the men
themselves, when I asked them, they really didn’t have much of a memory [of Trump in
1989]; at the time, he was the guy with gold buildings. Just a white dude on the other
side of the park. He was a private citizen who just took out these irresponsible ads. So, in
the context of that time, it didn’t loom as large as it looms now. We didn’t really take it




                                                                               P-APP002896
